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                      1      ALLEN MATKINS LECK GAMBLE
                               MALLORY & NATSIS LLP
                      2      DAVID R. ZARO (BAR NO. 124334)
                             TIM C. HSU (BAR NO. 279208)
                      3      865 South Figueroa Street, Suite 2800
                             Los Angeles, California 90071-2543
                      4      Phone: (213) 622-5555
                             Fax: (213) 620-8816
                      5      E-Mail: dzaro@allenmatkins.com
                                     thsu@allenmatkins.com
                      6
                             ALLEN MATKINS LECK GAMBLE
                      7        MALLORY & NATSIS LLP
                             EDWARD G. FATES (BAR NO. 227809)
                      8      600 West Broadway, 27th Floor
                             San Diego, California 92101
                      9      Phone: (619) 233-1155
                             Fax: (619) 233-1158
                     10      E-Mail: tfates@allenmatkins.com
                     11      Attorneys for Receiver
                             AARON J. KUDLA
                     12
                                                    UNITED STATES DISTRICT COURT
                     13
                                                  CENTRAL DISTRICT OF CALIFORNIA
                     14
                                                           WESTERN DIVISION
                     15
                        SECURITIES AND EXCHANGE                      Case No. CV-14-07249-CJC (FFM)
                     16 COMMISSION,
                                                                     FINAL FEE APPLICATION OF THE
                     17                    Plaintiff,                RECEIVER, AARON J. KUDLA OF
                                                                     TRIGILD, INC., FOR PAYMENT OF
                     18               v.                             FEES AND REIMBURSEMENT OF
                                                                     EXPENSES
                     19 NATIONWIDE AUTOMATED
                        SYSTEMS, INC.; JOEL GILLIS; and              Date:
                     20 EDWARD WISHNER,                              Time: 1:30 p.m.
                                                                     Ctrm: 9B
                     21                    Defendants,               Judge: Hon. Cormac J. Carney
                     22 OASIS STUDIO RENTALS, LLC;
                        OASIS STUDIO RENTALS #2, LLC;
                     23 and OASIS STUDIO RENTALS #3,,
                     24                    Relief Defendants.
                     25
                     26
                     27
                     28
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                      1               Aaron J. Kudla ("Receiver"), the Court-appointed permanent receiver for
                      2 Defendant Nationwide Automated Systems, Inc. ("NASI"), Relief Defendants
                      3 Oasis Studio Rentals, LLC, Oasis Studio Rentals #2, LLC, and Oasis Studio
                      4 Rentals #3, LLC ("Relief Defendants"), and their subsidiaries and affiliates
                      5 (collectively "Receivership Entities"), hereby submits this final application for
                      6 approval and payment of fees and reimbursement of expenses ("Application").
                      7 This Application is filed concurrently with the Receiver's Motion to Conclude the
                      8 Receivership ("Motion to Conclude"), as well as the final fee applications of the
                      9 Receiver's counsel, Allen Matkins, and the Receiver's certified public accountants,
                     10 Duffy Kruspodin.
                     11               The Receiver seeks approval of the total fees and costs incurred by the
                     12 Receiver (including the former receiver, William Hoffman of Trigild, Inc.) for the
                     13 receivership in the amount of $4,764,166, which includes the following:
                     14               •     Approval and payment of fees and costs incurred during the seven-
                     15                     month period from April 1, 2020 through October 31, 2020 ("Final
                     16                     Application Period") totaling $96,324 ($91,255 of fees and $5,069 of
                     17                     expenses);
                     18               •     Final approval of the twenty-two interim fee applications1 filed by the
                     19                     former receiver and Receiver and of the $3,662,739 ($3,520,411 of
                     20                     fees and $142,328 of expenses) previously paid in connection with
                     21                     those applications;
                     22               •     Approval and payment of fees held back from the twenty-two interim
                     23                     fee applications in the total amount of $880,103 ("Holdback
                     24                     Amount"); and
                     25
                     26     1
                         Receiver's twenty-two interim fee applications, along with bills reflecting the
                     27 work performed during each period can be found at Dkt. Nos. 65, 74, 82, 101, 120,
                        156, 174, 190, 206, 220, 229, 249, 263, 278, 300, 318, 334, 352, 365, 373, 387,
                     28
                        and 409 are incorporated herein by this reference.
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                      1               •     Authority to pay up to $125,000 in fees and costs for remaining work
                      2                     to conclude the receivership, including work during November 2020
                      3                     on the Receiver's Motion to Conclude and work remaining to close
                      4                     the receivership.
                      5                                     I.    INTRODUCTION
                      6               This equity receivership involves a large and complex Ponzi scheme that is
                      7 the subject of the Complaint filed by the Securities and Exchange Commission
                      8 ("Commission"). The former receiver, Mr. Hoffman, was appointed on a
                      9 temporary basis on September 30, 2014, and on a permanent basis on October 29,
                     10 2014. Due to Mr. Hoffman's retirement, he was fully discharged as receiver on
                     11 February 24, 2020, and Mr. Kudla was appointed successor receiver. Dkt. 383.
                     12               The appointment orders confer broad duties, responsibilities, and powers on
                     13 the Receiver which are designed to allow him to secure, preserve, and protect the
                     14 assets of the Receivership Entities, investigate and recover sums transferred to
                     15 third parties, conduct a forensic accounting and analysis of the Receivership
                     16 Entities' financial transactions, review and analyze investor claims, and maximize
                     17 the amount ultimately available for distribution to investors. The Court approved
                     18 the former receiver's proposal to file reports and fee applications on a quarterly
                     19 basis. Dkt. No. 47. The Court also approved the twenty-two (22) prior interim fee
                     20 applications of the former receiver and Receiver, authorizing payment of 80% of
                     21 fees incurred and 100% of costs incurred. Dkt. Nos. 65, 74, 82, 101, 120, 156,
                     22 174, 190, 206, 220, 229, 249, 263, 278, 300, 318, 334, 352, 365, 373, 387, and
                     23 409.
                     24               The former receiver and Receiver have diligently carried out their Court-
                     25 ordered duties over the last six years since the former receiver's appointment in
                     26 September 2014. Administrative fees and costs for the Receiver and his
                     27 professionals, if all fee applications are approved, amount to approximately
                     28 $7,602,806, or about 11.8% of the total recovery (including the amounts recovered
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                      1 via the class settlement with City National Bank, for which the former receiver
                      2 acted as administrator). The Receiver's fees, if all fee applications are approved,
                      3 amount to approximately $4,589,769, or about 7.1% of the total recovery.
                      4               If the Motion to Conclude filed herewith and the fee applications are
                      5 granted, the proposed final distribution will be $2,935,267; as such, investors will
                      6 have recovered approximately 45% of their investments under the distribution plan
                      7 approved by the Court on April 25, 2019 (the "Distribution Plan") (Dkt. 347) and
                      8 via the class settlement.
                      9               The former receiver and the Receiver have completed their Court-ordered
                     10 duties, including securing, preserving and protecting the Receivership Entities'
                     11 assets, completing a forensic accounting of the sources and uses of funds of the
                     12 Receivership Entities, pursuing and enforcing Clawback Claims against insiders
                     13 and others who received profits from the Ponzi scheme (including 68 separate
                     14 actions on Clawback Claims), and completing a claims and distribution process.
                     15               The former receiver and Receiver have filed detailed reports on their
                     16 activities on a quarterly basis throughout the case and have sought Court authority
                     17 and approval of all sales of assets, pursuits of litigation, as well as all aspects of
                     18 the investor claims process and distribution of receivership estate funds. The
                     19 former receiver and Receiver have also filed interim fee applications on a quarterly
                     20 basis throughout the case, including a hold back of 20% of fees incurred from each
                     21 application; all of the interim fee applications have been granted.
                     22               With respect to projected fees and costs for remaining work, the legal work
                     23 starting on November 1, 2020 necessary to conclude the receivership includes
                     24 (1) preparation of the supporting information and documentation for the Motion to
                     25 Conclude and, if necessary, attendance at the hearing, (2) preparation and
                     26 completion of a final distribution to approved claimants, (3) dissolution of all
                     27 Receivership Entities, (4) preparation of financial statements and accounting
                     28 support to file final tax returns for the Receivership Entities and file required tax
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                      1 forms related to the final distribution, (5) finalize collections of Clawback
                      2 recoveries, (6) research and resolve any tax related notices from the IRS and
                      3 Franchise Tax Board, if any, (7) preparation of status filings with the Court,
                      4 including declaration(s) confirming completion of wind down tasks, and (8) close
                      5 bank accounts and transfer balance of funds, if any, to the United States Treasury.
                      6 The Receiver has prepared the following conservative projection of fees and costs
                      7 associated with completing the remaining tasks:
                      8                          Fee Category                   Hours          Amount
                      9                Case Administration                      114.3     $     26,250.00
                                       Third Party Recoveries                    10.7     $      3,750.00
                     10
                                       Accounting/ Auditing                     158.6     $     27,285.00
                     11                Status Report                             28.6     $     10,000.00
                     12                Tax Issues                                53.6     $     18,750.00
                     13                Wind Down                                 78.6     $     11,964.00
                                       TOTAL                                    444.3     $     98,000.00
                     14
                     15
                                                   Expense Category                            Amount
                     16               Bank Fees                                           $     14,554.86
                     17               Computer Equipment/Software                         $      2,361.11
                                      Entity Dissolution                                  $      1,564.00
                     18
                                      Photocopying/Printing                               $      1,500.00
                     19               Postage/Overnight Expenses                          $      1,973.63
                     20               Storage and Destruction of Boxed Files              $      1,246.40
                                      Taxes (State and Federal)                           $      3,800.00
                     21
                                      TOTAL                                               $     27,000.00
                     22
                     23               This is only a projection – the actual fees and costs will no doubt vary to
                     24 some degree. Therefore, the Receiver seeks authority to pay the actual fees and
                     25 costs incurred up to a total of $125,000. As provided in the concurrently-filed
                     26 Motion to Conclude, once all remaining tasks have been completed, the Receiver
                     27 will file a final declaration seeking to be officially discharged of all receiver
                     28
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                      1 duties, including a report on the actual fees and costs of the Receiver and his
                      2 professionals to complete the remaining tasks.
                      3               Accordingly, the Receiver requests final approval of its total fees and costs
                      4 for the receivership in the amount of $4,764,166, including (1) final approval of
                      5 the $3,662,739 ($3,520,411 of fees and $142,328 of expenses) paid to the former
                      6 receiver and Receiver on an interim basis, (2) fees and costs incurred during the
                      7 Final Application Period of $96,324 ($91,255 of fees and $5,069 of expenses),
                      8 (3) fees held back from the twenty-two previously-approved interim fee
                      9 applications of $880,103, and (4) authority to pay actual fees and costs to complete
                     10 the tasks remaining to conclude the receivership up to $125,000.
                     11               Counsel for the Commission has reviewed this Application, along with the
                     12 final fee applications of the Receiver's counsel, Allen Matkins, and other
                     13 professional applications filed concurrently herewith. The Commission does not
                     14 oppose the applications.
                     15                             II.   FINAL APPLICATION PERIOD
                     16               The fees incurred by the Receiver during the Final Application Period (a
                     17 seven-month period) total $91,255 in fees for a total of 184.6 hours worked. The
                     18 work performed is described task-by-task on Exhibit A, and by the following
                     19 categories:
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                      1                            Category                     Hours           Amount
                      2                Case Administration                       24.6      $      8,610.00
                                       Third Party Recoveries                    57.3      $     20,055.00
                      3
                                       Accounting/ Auditing                     127.2      $     22,852.50
                      4                Status Report                             11.5      $      3,757.50
                      5                Tax Issues                                26.2      $      9,170.00
                      6                USAO Restitution Accounting               39.7      $     13,895.00
                                       Wind Down                                 36.9      $     12,915.00
                      7                TOTAL                                    184.6      $     91,255.00
                      8
                      9         III.       SUMMARY OF TASKS PERFORMED AND COSTS INCURRED
                     10                    A.    Categories and Descriptions of Work
                     11                         1.   Case Administration
                     12                Services by the Receiver's staff in this category include: (a) reviewing and
                     13 responding to investor emails, faxes and mailed documents, (b) researching related
                     14 investor accounts, ATM contracts, deposits, payments, assignments, and transfers
                     15 of ATMs between related parties, (c) requesting additional information and/or
                     16 documents to support investors' changed addresses and deceased investors, (d)
                     17 communicating with investors regarding distribution filings and future
                     18 distribution; and (e) tracking updates to services in this category.
                     19                The Receiver's staff spent significant time reviewing, logging and
                     20 responding to emails (with and without documents to review), mail, phone calls
                     21 and faxes from investors regarding the status of distributions, issues with
                     22 distribution checks, changed addresses, deceased investors and many other issues.
                     23 All documentation received had to be identified with an investor or investors,
                     24 converted or re-named in digital form, and consolidated into separated database
                     25 folders depending on the type of documents and corresponding investor. Further,
                     26 relevant data from the documents needed to be reviewed and inputted into
                     27 different tracking schedules, Schedules of Claims, Schedules of Distribution, and
                     28 Schedule of Investor Addresses, etc. These schedules were updated regularly by
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                      1 the Receiver's staff and provided critical data on confirmed deliveries (and by what
                      2 method of confirmation, i.e. documents received from investors, emails, faxes and
                      3 mail received from investors, USPS Certified delivery, voicemails from investors,
                      4 and telephone). The reasonable and necessary fees for work in this category total
                      5 $8,610.00.
                      6                     2.     Third Party Recoveries
                      7               Services in this category include recovery actions against investors with
                      8 outstanding demands and outstanding installment payments and to sell eleven (11)
                      9 judgment liens. Accordingly, the Receiver submitted and the Court approved a
                     10 marketing and sale procedure for the Clawback judgments. Dkt. No. 407. The
                     11 Receiver followed the procedures approved by the Court, including contacting a
                     12 number of collection attorneys and other investors located in Southern California
                     13 who purchase and enforce money judgments on a regular basis and listing the
                     14 judgments on a national online judgment website. The Receiver then accepted the
                     15 highest offer in the amount of $60,000.00. The Receiver entered into a purchase
                     16 agreement for the sale of the judgments, assigned the judgments to buyer and
                     17 received full payment from the buyer.
                     18               During the Final Application Period and through the date of this
                     19 Application, the Receiver recovered $94,902.80 ($34,902.80 from Clawback
                     20 claims and $60,000.00 from sale of judgment liens). The reasonable and necessary
                     21 fees for the Receiver's services in this category total $20,055.00.
                     22                     3.     Accounting/Auditing
                     23               Services in this category include obtaining, reviewing, and analyzing
                     24 accounting and financial documents, including financial statements, bank
                     25 statements, cash flow reports, past tax returns, and a variety of other accounting
                     26 and financial documents and reports for the Qualified Settlement Fund for NASI
                     27 and Relief Defendants. The primary objectives of this work include the
                     28 identification and verification of assets, liabilities, customers, vendors and other
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                      1 third parties who paid, received payments, or owe funds to the Receivership
                      2 Entities. The Receiver's takeover of NASI and related entities required preparation
                      3 of financial statements by the Receiver's accountants in order to prepare tax
                      4 returns, the Standardized Fund Accounting Report that accompanies the Receiver's
                      5 interim reports, support for the valuation of assets of the Receivership Entities, and
                      6 support for strategic business decisions by the Receiver. The reasonable and
                      7 necessary fees for services in this category total $22,852.50.
                      8                     4.    Status Report
                      9               Services in this category include preparation of the Receiver's Twenty Third
                     10 Interim Report, which was filed on May 6, 2020 (Dkt. No. 401), and the Receiver's
                     11 Twenty Fourth Interim Report, which was filed on September 15, 2020 (Dkt. No.
                     12 416). The Twenty Third Interim Report and Twenty Fourth Interim Report
                     13 contain detailed description of the Receiver's activities during the first and second
                     14 quarter 2020, receipt and disbursement figures for the receivership estate as a
                     15 whole, disbursement of funds to investors whose claims were allowed through the
                     16 Court-approved claims process, the Standardized Fund Accounting Report
                     17 attached to the report as Exhibit A, and updated figures regarding investors who
                     18 have contacted the Receiver. The reasonable and necessary fees for work in this
                     19 category total $3,757.50.
                     20                     5.    Tax Issues
                     21               This category includes the Receiver's services in reviewing, researching, and
                     22 preparing supporting documents for filing the Receiver Entities' tax returns and
                     23 other required filings with the Internal Revenue Service ("IRS") and Franchise Tax
                     24 Board ("FTB"). The Receiver coordinated with the Duffy Kruspodin, the Court-
                     25 approved certified public accountants, to timely file all 2019 tax returns for the
                     26 Receivership entities with the IRS and FTB. In anticipation of the wind down
                     27 process, the Receiver contacted the FTB and California Secretary of State and
                     28 resolved any issues and is prepared to dissolve the Receivership entities upon
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                      1 approval from the Court. The reasonable and necessary fees for work in this
                      2 category total $9,170.00.
                      3                     6.    USAO Restitution Accounting
                      4               This category includes the Receiver's services to review investor account
                      5 and loss information provided by the United States Attorney's Office ("USAO")
                      6 per the restitution order arising out of the criminal case entitled U.S. v. Joel Gillis
                      7 and Edward Wishner (14-752-SJO). The Receiver coordinated with the USAO to
                      8 provide investor distribution information to be reconciled with criminal restitution
                      9 recovery accounts. The USAO was tasked with providing the U.S. District Court
                     10 Clerk with information affecting the restitution amount owed by Gillis and
                     11 Wishner to each net loser's account, which includes the crediting (reducing the
                     12 balance) of each net loser's account with the amount paid to each investor from the
                     13 Receivership and CNB class settlement payments. The Receiver spent significant
                     14 time to reconcile more than 220 investor claims, which required detail review and
                     15 analysis of investor's deposit and payment checks, ATM contracts, claims
                     16 submission forms, W-9s, and correspondence and supporting documents from
                     17 investors to resolve differences in claimant names and net loss amounts between
                     18 the Receiver's approved claims and USAO's restitution accounts. Differences
                     19 between the Receiver's and USAO's net loss information were a result of multiple
                     20 issues impacting the claimant name and/or net loss amount, including
                     21 (1) assignment of claims due to death of an investor or dissolution of an entity,
                     22 (2) split accounts due to divorce, death of investor (i.e., multiple heirs), different
                     23 investment accounts with same name (i.e., retirement account), or multiple family
                     24 members, (3) combination of accounts due to related entities or name changes (i.e.,
                     25 marriage), (4) relationship to a net winner account, and (5) additional deposit and
                     26 payment information the Receiver obtained through the claims process. The
                     27 reasonable and necessary fees for work in this category total $13,895.00.
                     28
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                      1                         7.   Wind Down
                      2               This category includes the Receiver's services in preparing for the wind
                      3 down and, upon Court approval, conclusion of the Receivership, including
                      4 preparing supporting reports of Receivership activity to date and identifying and
                      5 analyzing all outstanding and anticipated items to conclude and associated costs to
                      6 complete each item. In order to determine the amount of funds available to
                      7 distribution to the allowed investor claims (aka, net funds to distribute), the
                      8 Receiver must accurately determine the amount of funds needed to pay for all
                      9 completed services and all anticipated services and related costs from all sources.
                     10 Accordingly, the Receiver itemized the tasks and associated fees to complete each
                     11 task, such as estimating bank fees to distribute funds to investors, return check fees
                     12 and time required to communicate with investors for change of address and
                     13 investor name (i.e, assignment due to deceased investor). While the itemized tasks
                     14 are identified, an exact amount of time (and fee) will not be known until the
                     15 Receivership estate is concluded. Therefore, the Receiver's services in this
                     16 category should result in the most amount of funds will be distributed to the
                     17 investors while ensuring enough funds are held to cover all anticipated costs. The
                     18 reasonable and necessary fees for work in this category total $12,915.00.
                     19                    B.    Summary of Expenses Requested for Reimbursement
                     20               The Receiver requests the Court approve reimbursement of $5,068.78 in
                     21 out-of-pocket costs. The itemization of such expenses is summarized below by
                     22 category. The majority of expenses incurred are for bank fees for check
                     23 processing services (approved claims distributions), photocopies, printing and
                     24 postage for the mailing of Claims Notices to investors and Clawback activity.
                     25               The total for costs incurred by the Receiver during the Final Application
                     26 Period is $5,068.78 and is broken down by category as follows:
                     27
                     28
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                      1                                      Category                           Amount
                      2                    Bank Fees                                      $       2,588.01
                                           Computer Equipment/Software                    $       1,593.50
                      3
                                           Photocopying/Printing                          $         547.35
                      4                    Postage/Overnight Expenses                     $         142.06
                      5                    Storage of Boxed Files                         $         197.86
                      6                    TOTAL                                          $       5,068.78

                      7
                                  IV.       APPROVAL OF PRIOR INTERIM FEE APPLICATIONS AND
                      8
                                                         PAYMENT OF HOLDBACKS
                      9
                                      The Receiver respectfully requests that the Court grant final approval of the
                     10
                            twenty-two interim fee applications filed by the former receiver and Receiver and
                     11
                            that the Receiver be authorized to pay the amounts held back from those twenty-
                     12
                            two interim fee applications as follows:
                     13
                                        FEE                    FEES             INTERIM 80%           20%
                     14
                                    APPLICATION              INCURRED             PAYMENT          HOLDBACK
                     15
                                  First                  $      185,125.00      $    148,100.00   $      37,025.00
                     16           Second                 $      206,845.00      $    165,476.00   $      41,369.00
                     17           Third                  $      216,410.00      $    173,128.00   $      43,282.00
                     18           Fourth                 $      267,064.50      $    213,651.60   $      53,412.90
                                  Fifth                  $      266,819.00      $    213,455.20   $      53,363.80
                     19
                                  Sixth                  $      298,002.75      $    238,402.20   $      59,600.55
                     20           Seventh                $      273,069.75      $    218,455.80   $      54,613.95
                     21           Eighth                 $      217,041.00      $    173,632.80   $      43,408.20
                     22           Ninth                  $      231,602.00      $    185,281.60   $      46,320.40
                                  Tenth                  $      223,707.50      $    178,966.00   $      44,741.50
                     23
                                  Eleventh               $      215,181.50      $    172,145.20   $      43,036.30
                     24           Twelfth                $      167,927.25      $    134,341.80   $      33,585.45
                     25           Thirteenth             $      158,642.50      $    126,914.00   $      31,728.50
                     26           Fourteenth             $      200,878.00      $    160,702.40   $      40,175.60
                                  Fifteenth              $      301,928.25      $    241,542.60   $      60,385.65
                     27
                                  Sixteenth              $      226,174.50      $    180,939.60   $      45,234.90
                     28           Seventeen              $      150,106.25      $    120,085.00   $      30,021.25
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                      1           Eighteenth            $      234,361.00      $     187,488.80   $     46,872.20
                      2           Nineteenth            $      143,165.50      $     114,532.40   $     28,633.10
                                  Twentieth             $      103,345.00      $      82,676.00   $     20,669.00
                      3
                                  Twenty-First          $       62,677.50      $      50,142.00   $     12,535.50
                      4                                 $       50,440.00      $      40,352.00   $     10,088.00
                                  Twenty-Second
                      5           TOTAL                 $    4,400,513.75      $   3,520,411.00   $    880,102.75
                      6
                      7                     V.     THE FEES AND COSTS ARE REASONABLE

                      8                                 AND SHOULD BE ALLOWED

                      9               "As a general rule, the expenses and fees of a receivership are a charge upon

                     10 the property administered." Gaskill v. Gordon, 27 F.3d 248, 251 (7th Cir. 1994).
                     11 These expenses include the fees and expenses of this Receiver and his
                     12 professionals. Decisions regarding the timing and amount of an award of fees and
                     13 costs to the Receiver and his Professionals are committed to the sound discretion
                     14 of the Court. See SEC v. Elliot, 953 F.2d 1560, 1577 (11th Cir. 1992).
                     15        In allowing fees, a court should consider "the time, labor and skill required,

                     16 but not necessarily that actually expended, in the proper performance of the duties
                     17 imposed by the court upon the receiver[], the fair value of such time, labor and
                     18 skill measured by conservative business standards, the degree of activity, integrity
                     19 and dispatch with which the work is conducted and the result obtained." United
                     20 States v. Code Prods. Corp., 362 F. 2d 669, 673 (3d Cir. 1966) (internal quotation
                     21 marks omitted). In practical terms, receiver and professional compensation thus
                     22 ultimately rests upon the result of an equitable, multi-factor balancing test
                     23 involving the "economy of administration, the burden that the estate may be able
                     24 to bear, the amount of time required, although not necessarily expended, and the
                     25 overall value of the services to the estate." In re Imperial 400 Nat'l, Inc., 432 F.2d
                     26 232, 237 (3d Cir. 1970). Regardless of how this balancing test is formulated, no
                     27 single factor is determinative and "a reasonable fee is based [upon] all
                     28
       LAW OFFICES
Allen Matkins Leck Gamble
   Mallory & Natsis LLP

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                      1 circumstances surrounding the receivership." SEC v. W.L. Moody & Co., Bankers
                      2 (Unincorporated), 374 F.Supp. 465, 480 (S.D. Tex. 1974).
                      3               The Receiver has submitted twenty-two detailed fee applications, as well as
                      4 this application, which describes the nature of the services rendered, and the
                      5 identity and billing rate of each individual performing each task. The Receiver has
                      6 endeavored to staff matters as efficiently as possible while remaining cognizant of
                      7 the complexity of issues presented. The request for fees is based on the Receiver's
                      8 customary billing rates charged for comparable services provided in other matters,
                      9 less a 10% discount.
                     10               The work performed by the Receiver was essential to carrying out his Court-
                     11 ordered duties. The Receiver has worked diligently since the Receiver's
                     12 appointment to (a) investigate, secure, and protect the assets of the receivership
                     13 estate, (b) preserve and maintain the limited revenue stream from the ATM
                     14 business, (c) investigate transfers to third parties and potential claims related
                     15 thereto, (d) inform the Court and the parties of the Receiver activities, (e) make
                     16 recommendations for the efficient and effective administration of the receivership,
                     17 and (f) efficiently disseminate information to investors and respond to frequently
                     18 asked questions.
                     19                                      VI.    CONCLUSION
                     20               The Receiver, therefore, respectfully requests that the Court enter an Order:
                     21               1.    Approving the Receiver's fees and costs for the receivership in the
                     22 amount of $4,764,166, including:
                     23                     a.     Approval and authority to pay fees and costs in the Final
                     24 Application Period totaling $96,324 ($91,255 of fees and $5,069 of costs);
                     25                     b.     Approval, on a final basis, of fees and costs previously paid to
                     26 the Receiver pursuant to his twenty-two interim fee applications of $3,662,739
                     27 ($3,520,411 of fees and $142,328 of costs);
                     28
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                      1                    C.    Approval and authority to pay fees held back from the twenty-
                      2 two interim fee applications filed by the former receiver and Receiver in the
                      3 amount of $880,103.
                      4                    d.    Approval and authority to pay actual fees and costs from the
                      5 reserve in an amount up to $125,000 to complete the tasks remaining to conclude
                      6 the receivership; and
                      7               2.   For such other and further relief as the Court deems appropriate.
                      8
                      9 Dated: December 17, 2020                              RECEIVER:
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                     11                                                       AARO
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                                                      RECEIVER OVER NATIONWIDE AUTOMATED SYSTEMS, INC., et al.
                                                      William Hoffman of Trigild, Inc. (Receiver) - Statement of Professional Fees
                                                                          April 1, 2020 - October 31, 2020

    Date        Personnel   Title of Personnel   Time         Rate         Amount                                               Description of Services

Case Administration:
  04/01/20       A. Kudla     Attorney/CPA       0.5      $ 350.00     $      175.00 Review investors’ information, revise Schedule of Distributions, and draft corresp. to/from investors re 1099
                                                                                     and updated address.
  04/02/20      A. Kudla      Attorney/CPA       1.1      $ 350.00     $      385.00 Draft corresp. to/from investors, teleconf. investors, research issues and revise Schedule of Addresses re
                                                                                     updated information and requested assignment to retirement account.
  04/03/20      A. Kudla      Attorney/CPA       1.4      $ 350.00     $      490.00 Review voicemails and emails from investors and teleconf. investors re 1099 questions, final distribution
                                                                                     status and related questions.
  04/06/20      A. Kudla      Attorney/CPA       1.5      $ 350.00     $      525.00 Review mailed received and returns, prepare Return Labels list and coordinate forwarding 1099 forms to
                                                                                     investors (.8); and Teleconf. investors re distribution and 1099 questions (.7).
  04/08/20      A. Kudla      Attorney/CPA        1       $ 350.00     $      350.00 Review returned 1099 filings, update addresses and coordinate forwarding mail with staff (.7); and Draft
                                                                                     corresp. to/from investors re status of final distribution (.3).
  04/10/20      A. Kudla      Attorney/CPA       0.5      $ 350.00     $      175.00 Coordinate payment of restitution funds to USAO.
  04/17/20      A. Kudla      Attorney/CPA       2.4      $ 350.00     $      840.00 Review cleared check copies, finalize Schedule of Distributions and draft corresp. to USAO re restitution
                                                                                     (1.9); and Review investor claim forms and teleconf. investor re allocation of distribution (.5).
  04/20/20      A. Kudla      Attorney/CPA       0.7      $ 350.00     $      245.00 Teleconf. investors re 1099s and distribution questions.
  04/22/20      A. Kudla      Attorney/CPA       0.5      $ 350.00     $      175.00 Review investor request and teleconf. and draft corresp. to/from investor re distribution.
  04/23/20      A. Kudla      Attorney/CPA       0.8      $ 350.00     $      280.00 Revise Receivership website with successor receiver information, review documents to add, and coordinate
                                                                                     with staff.
  04/24/20      A. Kudla      Attorney/CPA       1.3      $ 350.00     $      455.00 Review claim forms, research distribution checks, meeting with staff, and draft corresp. to/from investor re
                                                                                     distribution allocation.
  04/27/20      A. Kudla      Attorney/CPA       0.5      $ 350.00     $      175.00 Review investor Schedules and teleconf. investor re distribution question.
  04/29/20      A. Kudla      Attorney/CPA       0.3      $ 350.00     $      105.00 Teleconf. investor re distributions.
  05/01/20      A. Kudla      Attorney/CPA       0.4      $ 350.00     $      140.00 Review investor request, research issue and draft corresp. to/from investor re claim confirmation and final
                                                                                     distribution.
  05/08/20      A. Kudla      Attorney/CPA       0.2      $   350.00   $       70.00 Draft corresp. to/from investor re status of Receivership.
  05/18/20      A. Kudla      Attorney/CPA       0.2      $   350.00   $       70.00 Draft corresp. to/from investors re final distribution.
  05/19/20      A. Kudla      Attorney/CPA       0.4      $   350.00   $      140.00 Teleconf. and draft corresp. to/from investors re status of distribution.
  05/22/20      A. Kudla      Attorney/CPA       0.2      $   350.00   $       70.00 Draft corresp. to/from investor re quarterly report.
  05/26/20      A. Kudla      Attorney/CPA       0.5      $   350.00   $      175.00 Teleconf. investors re status of receivership and recent report.
  05/28/20      A. Kudla      Attorney/CPA       0.2      $   350.00   $       70.00 Draft corresp. to/from investor re status of outstanding clawbacks and distribution.
  05/29/20      A. Kudla      Attorney/CPA       0.7      $   350.00   $      245.00 Research investor claim documents and draft corresp. to/from investor’s heir re supporting documents for
                                                                                     deceased investor.
  06/02/20      A. Kudla      Attorney/CPA       0.7      $ 350.00     $      245.00 Research file and claim history and teleconf. investor re deceased claimant and revise Schedule of Claims
                                                                                     (.4); and Teleconf. investors re 1099s and final distribution (.3).
  06/09/20      A. Kudla      Attorney/CPA       0.4      $   350.00   $      140.00 Research investor inquiry and draft corresp. to/from investor re final distribution and restitution.
  06/10/20      A. Kudla      Attorney/CPA       0.5      $   350.00   $      175.00 Research requested information and teleconf. And draft corresp. to/from investor re tax filings.
  06/23/20      A. Kudla      Attorney/CPA       0.3      $   350.00   $      105.00 Research distribution and claim forms and draft corresp. to/from investor re 1099 filing.
  06/25/20      A. Kudla      Attorney/CPA       0.3      $   350.00   $      105.00 Teleconf. investor re distribution and 1099.
  06/30/20      A. Kudla      Attorney/CPA       1.1      $   350.00   $      385.00 Research investor claim submission documents and distributions and draft corresp. to/from investors re
                                                                                     allocation and retirement account distributions.
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    Date        Personnel   Title of Personnel   Time       Rate         Amount                                                Description of Services

  07/10/20      A. Kudla      Attorney/CPA       0.2    $ 350.00     $       70.00 Draft corresp. to/from T. Fates re pending Motion.
  07/17/20      A. Kudla      Attorney/CPA       0.8    $ 350.00     $      280.00 Review estate planning documents for deceased investor, draft corresp. to/from attorney for estate, and
                                                                                   update schedules.
  07/19/20      A. Kudla      Attorney/CPA       0.2    $   350.00   $       70.00 Review filed report and coordinate with staff to update website.
  07/31/20      A. Kudla      Attorney/CPA       0.7    $   350.00   $      245.00 Teleconf. with T. Fates re wind down and final distribution.
  08/03/20      A. Kudla      Attorney/CPA       0.3    $   350.00   $      105.00 Draft corresp. to/from investor re change of address and update Schedule of Addresses.
  08/12/20      A. Kudla      Attorney/CPA       0.3    $   350.00   $      105.00 Draft corresp. to/from investor re change of address and update Schedule of Addresses.
  08/13/20      A. Kudla      Attorney/CPA       0.2    $   350.00   $       70.00 Teleconf. investor re status of final distribution.
  08/24/20      A. Kudla      Attorney/CPA       0.2    $   350.00   $       70.00 Draft corresp. to/from investors re final distribution.
  09/02/20      A. Kudla      Attorney/CPA       0.2    $   350.00   $       70.00 Draft corresp. to/from investors re status of final distribution.
  09/14/20      A. Kudla      Attorney/CPA       0.7    $   350.00   $      245.00 Teleconf. T. Fates outstanding report to court and request by USAO (.5); and Draft corresp. to/from USAO
                                                                                   re foundation letter (.2).
  09/17/20      A. Kudla      Attorney/CPA        0.2   $   350.00   $       70.00 Draft corresp. to/from investor re status of final distribution.
  09/29/20      A. Kudla      Attorney/CPA        0.4   $   350.00   $      140.00 Draft corresp. to/from investor re change of address and update Schedule of Investor Addresses.
  10/08/20      A. Kudla      Attorney/CPA        0.2   $   350.00   $       70.00 Draft corresp. to/from investors re final distribution.
  10/09/20      A. Kudla      Attorney/CPA        1.4   $   350.00   $      490.00 Review payment manager status and draft correps. To/from WF re final distribution estimates.
                                  Total          24.6                $    8,610.00

Third Party Recoveries:
   04/09/20      A. Kudla     Attorney/CPA       2.8    $ 350.00     $      980.00 Review judgments, assets, real estate, recorded liens and teleconf. and draft corresp. to/from title company re
                                                                                   litigation guarantee for judgment collections.
  04/15/20      A. Kudla      Attorney/CPA       0.8    $ 350.00     $      280.00 Review clawback recoveries, revise Schedule of Clawbacks and reconcile with financials.
  04/21/20      A. Kudla      Attorney/CPA       1.8    $ 350.00     $      630.00 Review clawback settlements and negotiations, and teleconf. and draft corresp. to/from T. Fates re motion to
                                                                                   approve clawback settlements.
  04/23/20      A. Kudla      Attorney/CPA       0.5    $ 350.00     $      175.00 Revise Clawback Settlement Motion and draft corresp. to/from T. Fates.
  04/24/20      A. Kudla      Attorney/CPA       2.2    $ 350.00     $      770.00 Review assets and writ of execution, prepare judgment settlement letter and teleconf. and draft corresp.
                                                                                   to/from T. Fates (1.8); and Finalize Declaration re Clawback Settlement Motion and draft corresp. to/from
                                                                                   T. Fates (.4).
  04/27/20      A. Kudla      Attorney/CPA       1.6    $ 350.00     $      560.00 Finalize judgment settlement letters and prepare exhibits.
  05/05/20      A. Kudla      Attorney/CPA       0.7    $ 350.00     $      245.00 Revise Schedule of Clawback Recoveries.
  05/06/20      A. Kudla      Attorney/CPA       2.2    $ 350.00     $      770.00 Research judgment debtors’ real estate assets, reconveyances, outstanding liens, and draft corresp. to/from
                                                                                   title company re litigation guarantees.
  05/07/20      A. Kudla      Attorney/CPA       3.4    $ 350.00     $    1,190.00 Review reconveyances, draft corresp. to/from investor, and coordinate recording of full reconveyance after
                                                                                   settlement payment (.7); Research additional real estate and draft corresp. to/from title company, and
                                                                                   outstanding creditors for judgment debtor (2.4); and Review clawback deposits journal entries and meeting
                                                                                   with T. Nguyen (.3).
  05/13/20      A. Kudla      Attorney/CPA       1.3    $ 350.00     $      455.00 Review judgments and teleconf. T. Fates re sale of judgments, and draft corresp. to/from Title re ordering
                                                                                   litigation guarantee.
  05/14/20      A. Kudla      Attorney/CPA       0.4    $ 350.00     $      140.00 Teleconf. and draft corresp. to/from Title Officer re litigation guarantee.
  05/15/20      A. Kudla      Attorney/CPA       2.5    $ 350.00     $      875.00 Review asset documents and prepare Schedule of Estimated Judgment Recovery for select judgments (1.7);
                                                                                   and Review draft Motion to Approval Judgment Sale and draft corresp. to/from T. Fates re Confidentiality
                                                                                   Agreement (.8).
  05/19/20      A. Kudla      Attorney/CPA       2.7    $ 350.00     $      945.00 Review litigation guarantees and supporting documents from Title Company and prepare summary of real
                                                                                   estate assets and supporting documents for potential buyers.
  05/20/20      A. Kudla      Attorney/CPA       0.2    $ 350.00     $       70.00 Draft corresp. to/from Title Company re outstanding litigation guarantee documents.

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 Date      Personnel   Title of Personnel   Time       Rate         Amount                                              Description of Services

05/26/20   A. Kudla      Attorney/CPA       2.5    $ 350.00     $      875.00 Teleconf. potential judgment buyers and broker, revise Schedule of Judgment Amounts and draft corresp.
                                                                              to/from potential buyers.
05/27/20   A. Kudla      Attorney/CPA       2.2    $ 350.00     $      770.00 Review Order approving settlements, draft corresp. to/from T. Fates and investors’ attorneys re settlement
                                                                              Order and payment, and revise Schedule of Clawbacks (.7); Review Litigation Guarantee supplemental
                                                                              documents and invoices, and draft corresp. to/from T. Nguyen re payment for invoices (.4); Teleconf. T.
                                                                              Fates re draft motion to approve judgment sale, due diligence documents, and sale procedures (.8); Review
                                                                              due diligence documents, schedules of judgments and draft corresp. to/from potential judgment buyer (1.4).

05/28/20   A. Kudla      Attorney/CPA       0.3    $ 350.00     $      105.00 Review clawback deposits and meeting with staff.
06/01/20   A. Kudla      Attorney/CPA       2.9    $ 350.00     $    1,015.00 Research and teleconf. lender re payoff request requirements, prepare payoff request and supporting
                                                                              documents, and prepare corresp. to lender re confirmation of outstanding lien of judgment debtor.
06/03/20   A. Kudla      Attorney/CPA       0.7    $ 350.00     $      245.00 Review Confidentiality Agreement and teleconf. and draft corresp. to/from potential buyer and draft corresp.
                                                                              to/from broker re potential judgment sale.
06/08/20   A. Kudla      Attorney/CPA       0.7    $ 350.00     $      245.00 Teleconf. potential buyers re judgments (.4); and Draft corresp. To/from investor’s attorney and deposit
                                                                              funds (.3).
06/10/20   A. Kudla      Attorney/CPA       0.2    $ 350.00     $       70.00 Meeting with staff re clawback deposits.
06/15/20   A. Kudla      Attorney/CPA       0.4    $ 350.00     $      140.00 Review judgment collection proposal and draft corresp. to/from potential buyer re judgment sale.
06/17/20   A. Kudla      Attorney/CPA       2.6    $ 350.00     $      910.00 Teleconf. T. Fates re judgment sale and motions (1.0); and Review Clawback Recoveries and accounts
                                                                              receivable, research investor payment history, and prepare for follow up actions (1.6).
06/18/20   A. Kudla      Attorney/CPA       0.7    $ 350.00     $      245.00 Revise Motion to Approve Sale of Judgments and draft corresp. to/from T. Fates (.5); and Review clawback
                                                                              deposit and meeting with staff (.2).
07/06/20   A. Kudla      Attorney/CPA       0.2    $   350.00   $       70.00 Review clawback settlement and draft corresp. to/from T. Nguyen re settlement payment.
07/13/20   A. Kudla      Attorney/CPA       0.5    $   350.00   $      175.00 Revise and finalize Declaration re Sale of Judgments and draft corresp. to/from T. Fates.
08/04/20   A. Kudla      Attorney/CPA       0.4    $   350.00   $      140.00 Review Order to Sell Judgments, draft corresp. to/from T. Fates and coordinate update of website.
08/05/20   A. Kudla      Attorney/CPA       0.2    $   350.00   $       70.00 Draft corresp. to/from potential buyers of judgment re Approval Order received.
08/25/20   A. Kudla      Attorney/CPA       0.8    $   350.00   $      280.00 Revise Schedule of Clawbacks.
08/27/20   A. Kudla      Attorney/CPA       0.2    $   350.00   $       70.00 Review documents received and meeting with staff re clawbacks.
09/02/20   A. Kudla      Attorney/CPA       1.5    $   350.00   $      525.00 Research, review and teleconf. USAO re restitution.
09/08/20   A. Kudla      Attorney/CPA       0.2    $   350.00   $       70.00 Review clawback check and meeting with staff.
09/15/20   A. Kudla      Attorney/CPA       0.7    $   350.00   $      245.00 Review outstanding installment agreements and draft corresp. to/from T. Fates re summary of installment
                                                                              collections (.5); and Draft corresp. to/from potential judgment buyer (.2).
10/01/20   A. Kudla      Attorney/CPA       4.0    $ 350.00     $    1,400.00 Review property profiles, payoff demand received, litigation guarantee, and revise Summary of Judgment
                                                                              Assets (1.8); and Research potential judgment buyers and research and provide requested judgment
                                                                              documents, and teleconf. and draft corresp. to/from buyers (2.2).
10/05/20   A. Kudla      Attorney/CPA       0.8    $   350.00   $      280.00 Revise Schedule of Judgment Amounts and teleconf. and draft corresp. to potential buyer.
10/06/20   A. Kudla      Attorney/CPA       0.3    $   350.00   $      105.00 Teleconf. potential buyer re status of potential sale.
10/08/20   A. Kudla      Attorney/CPA       2.9    $   350.00   $    1,015.00 Prepare judgment portfolio packet and list judgment sale online and resolve issues.
10/09/20   A. Kudla      Attorney/CPA       1.9    $   350.00   $      665.00 Review and update accounts payable for Installment Settlements and draft corresp. to select winners.
10/12/20   A. Kudla      Attorney/CPA       1.7    $   350.00   $      595.00 Draft corresp. to/from winner and update clawback schedule re outstanding balance (9); and Follow up on
                                                                              online judgment listing and draft (.8).
10/13/20   A. Kudla      Attorney/CPA       1.8    $ 350.00     $      630.00 Review cumulative Clawback Recoveries and revise Schedule of Clawback Recoveries to date and prepare
10/14/20   A. Kudla      Attorney/CPA       1.6    $ 350.00     $      560.00 detailed
                                                                              Follow uprecoveries andjudgment
                                                                                          with online reconcilemarketplace
                                                                                                                 with SFAR. (.4); and Teleconf. and draft corresp. to/from investors with
                                                                              outstanding installment payment balances (1.2).
10/15/20   A. Kudla      Attorney/CPA       0.8    $ 350.00     $      280.00 Confirm listing on Judgment Marketplace and draft corresp. to/from buyers.
10/22/20   A. Kudla      Attorney/CPA       0.5    $ 350.00     $      175.00 Research status of online judgment sale (.3); and Review documents received from investor (.2).

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    Date        Personnel   Title of Personnel   Time       Rate         Amount                                                Description of Services

                                  Total          57.3                $   20,055.00

Accounting/ Auditing:
  04/07/20       A. Kudla     Attorney/CPA       1.5    $   350.00   $      525.00   Review financials for January and February 2020 and meeting with T. Nguyen.
  04/15/20       A. Kudla     Attorney/CPA       0.9    $   350.00   $      315.00   Review financials for Q1 and meeting with T. Nguyen.
  05/05/20       A. Kudla     Attorney/CPA       1.3    $   350.00   $      455.00   Review Q1 financials and meeting with T. Nguyen.
  05/18/20       A. Kudla     Attorney/CPA       0.8    $   350.00   $      280.00   Teleconf. WF and meeting with staff and coordinate closing of Restitution Bank Account.
  08/05/20       A. Kudla     Attorney/CPA       0.4    $   350.00   $      140.00   Teleconf. vendor and review invoice and meeting with staff re payment for next distribution.
  08/12/20       A. Kudla     Attorney/CPA       0.8    $   350.00   $      280.00   Review July financials and receipts and disbursements and meeting with T. Nguyen.
  08/25/20      A. Kudla      Attorney/CPA       1.1    $ 350.00     $      385.00 Review Q2 Financials.
  09/02/20      A. Kudla      Attorney/CPA       1.7    $ 350.00     $      595.00 Review Professional Fees paid by Receivership, revise summary schedules and meeting with T. Nguyen re
                                                                                   CPAs fees.
  09/09/20      A. Kudla      Attorney/CPA       0.4    $ 350.00     $      140.00 Review Order approving fee applications and instruct payments to professionals.
  09/30/20      A. Kudla      Attorney/CPA       1.4    $ 350.00     $      490.00 Review outstanding accounting items and teleconf. and draft corresp. to T. Nguyen.
  10/06/20      A. Kudla      Attorney/CPA       2.9    $ 350.00     $    1,015.00 Review financials for 2019 and 2020 for final report, including clawback schedules, NASI operations and
                                                                                   Receivership expenses.
  10/12/20      A. Kudla      Attorney/CPA       0.6    $ 350.00     $      210.00 Research requested documents and draft corresp. to/from T. Nguyen re SFAR summaries.
  10/13/20      A. Kudla      Attorney/CPA       2.6    $ 350.00     $      910.00 Revise Schedule of SFAR (cumulative) and draft corresp. to/from T. Nguyen (1.2); and Revise Schedule of
                                                                                   Consolidated Financials re cumulative receipts for Receivership (1.4).
  10/21/20      A. Kudla     Attorney/CPA        1.3    $   350.00   $      455.00 Review Financial Statements and meeting with T. Nguyen re wind down.
  10/22/20      A. Kudla     Attorney/CPA        1.5    $   350.00   $      525.00 Review reconciliation of Income Statements and SFAR and meeting with T. Nguyen.
  10/26/20      A. Kudla     Attorney/CPA        1.6    $   350.00   $      560.00 Review ATM Expenses and reconcile with SFAR and meeting with T. Nguyen.
  10/27/20      A. Kudla     Attorney/CPA        1.1    $   350.00   $      385.00 Review updated Income Statement and SFAR and meeting with T. Nguyen, and research select items.
  04/09/20       B. Dang    Accounting Clerk     1.0    $    75.00   $       75.00 Review invoices and print checks
  04/28/20       B. Dang    Accounting Clerk     0.5    $    75.00   $       37.50 Upload invoice and coding.
  05/07/20       B. Dang    Accounting Clerk     0.5    $    75.00   $       37.50 Upload invoice into Nexus.
  05/27/20       B. Dang    Accounting Clerk     1.0    $    75.00   $       75.00 Review and process payment.
  06/18/20       B. Dang    Accounting Clerk     1.0    $    75.00   $       75.00 Review and process invoices.
  07/23/20       B. Dang    Accounting Clerk     1.0    $    75.00   $       75.00 Review and process invoices.
  07/23/20       B. Dang    Accounting Clerk     1.0    $    75.00   $       75.00 Review and enter vendor invoices.
  08/13/20       B. Dang    Accounting Clerk     1.0    $    75.00   $       75.00 Review and process invoices.
  09/16/20       B. Dang    Accounting Clerk     1.0    $    75.00   $       75.00 Review and process invoices.
  04/07/20      T. Nguyen     Accountant         0.3    $   150.00   $       37.50 Approves invoices for NASI and OASIS for Franchise Tax Board.
  04/08/20      T. Nguyen     Accountant         0.5    $   150.00   $       75.00 Set up AP approval for check request and Franchise Tax.
  04/15/20      T. Nguyen     Accountant         2.3    $   150.00   $      337.50 Month end closing for March 2020. Bank Reconciliation. SFAR Report. Receipts & Disbursements for all
                                                                                   entities for March 2020.
  04/17/20      T. Nguyen      Accountant        1.5    $ 150.00     $      225.00 Revised financial statements for March 2020 and update SFAR report.
  04/24/20      T. Nguyen      Accountant        0.3    $ 150.00     $       37.50 Banking research for cancel checks per investor requests.
  04/28/20      T. Nguyen      Accountant        1.5    $ 150.00     $      225.00 Reviewing invoices in Nexus and code and approve invoices. Compile invoices for Q1 2020 for court filing.
                                                                                   Update balance sheet reconcilation.
  05/05/20      T. Nguyen      Accountant        1.5    $ 150.00     $      225.00 Upload, index, code invoices in Nexus. Review and approve invoices for payment for Q4 - 2019 for
                                                                                   Receiver and Allen Matkins.
  05/15/20      T. Nguyen      Accountant        2.0    $ 150.00     $      300.00 Month end closing for April 2020. Reconciling holdbacks amount and bank reconciliation for all bank
                                                                                   accounts for April 2020. Upload bank statements.
  05/22/20      T. Nguyen      Accountant        2.8    $ 150.00     $      412.50 Month end closing and financials for April 2020 for all entities. Receipts & disbursements. Update seized
                                                                                   assets and clawback schedules. Update SFAR report.
                                                                                                                                                                    Exibit A, Page 20
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 Date      Personnel   Title of Personnel   Time        Rate         Amount                                               Description of Services

05/27/20   T. Nguyen      Accountant         0.5    $ 150.00 $           75.00 Adding new general ledger and process 3 check requests for third party litigation expenses.
06/05/20   T. Nguyen      Accountant         1.0    $ 150.00 $          150.00 End of month closing for May 2020. Download bank statements. Bank Reconciliations for all entities.
06/12/20   T. Nguyen      Accountant         1.5    $ 150.00 $          225.00 Preparation for financial for May 2020 for all entities. Receipts and disbursements. Update clawbacks
                                                                               schedules.
06/18/20   T. Nguyen      Accountant         1.0    $ 150.00     $      150.00 Financial for May 2020 for all entities. Receipts & Disbursments and SFAR Report.
06/24/20   T. Nguyen      Accountant         0.5    $ 150.00     $       75.00 Start end of month closing for June 2020.
07/06/20   T. Nguyen      Accountant         1.5    $ 150.00     $      225.00 Record clawbacks for June 2020. End of month closing for June 2020. Bank Reconciliations.
07/10/20   T. Nguyen      Accountant         4.0    $ 150.00     $      600.00 Receipts & Disbursements. SFAR report - April - June 2020. Financials for June 2020 for all entities.
                                                                               Review invoices and coding in Nexus.
08/11/20   T. Nguyen      Accountant         0.3    $ 150.00     $       37.50 Review invoices and coding in Nexus AP.
08/12/20   T. Nguyen      Accountant         3.3    $ 150.00     $      487.50 End of month closing for July 2020 for all entities. Financial statements. Record all clawbacks. Receipts &
                                                                               Disbursements. Bank Reconcialiation.
09/01/20   T. Nguyen      Accountant         2.0    $ 150.00     $      300.00 Reconciliation with Duffy statements. Set up new GL per CPA request and record transfer.
09/09/20   T. Nguyen      Accountant         2.5    $ 150.00     $      375.00 Month end closing. Bank Reconciliation for August for all entities. Receipts & disbursements. Update
                                                                               clawbacks. Financials for August 2020.
09/15/20   T. Nguyen      Accountant         2.5    $   150.00   $      375.00 Process quarter 1 2020 invoices for payment. Approve invoices in Nexus.
09/22/20   T. Nguyen      Accountant         1.5    $   150.00   $      225.00 Compile invoices and backup for expense reimbursement for 2020 Quarter 2.
09/23/20   T. Nguyen      Accountant         1.0    $   150.00   $      150.00 Compile invoices and upload invoices in Nexus. Compile report for expense reimbursement for quarter 2.
09/25/20   T. Nguyen      Accountant         0.5    $   150.00   $       75.00 Compile invoices and upload invoices in Nexus. Compile report for expense reimbursement for quarter 2.
09/27/20   T. Nguyen      Accountant         0.3    $   150.00   $       37.50 Update expense reimbursement worksheet to send to court.
10/10/20   T. Nguyen      Accountant         1.8    $   150.00   $      262.50   Month end closing. Bank Reconciliation for September 2020 for all entities. Receipts & disbursements.
10/11/20   T. Nguyen      Accountant         1.0    $   150.00   $      150.00   Update
                                                                                 Wrap upclawbacks.
                                                                                           - Work onFinancials   for September
                                                                                                      SFAR Reports              2020.to current.
                                                                                                                      from inception
10/11/20   T. Nguyen      Accountant         3.0    $   150.00   $      450.00   Month end closing. Bank Reconciliation for September 2020 for all entities. Receipts & disbursements.
10/12/20   T. Nguyen      Accountant         6.5    $   150.00   $      975.00   Update
                                                                                 Wrap upclawbacks.
                                                                                           - Work onFinancials   for September
                                                                                                      SFAR Reports              2020.to current. 2014 - 2020. Ran 2014-2020 Income
                                                                                                                      from inception
10/13/20   T. Nguyen      Accountant         1.5    $   150.00   $      225.00   statement
                                                                                 Update     by month
                                                                                         SFAR         forbyConsolidated
                                                                                                reports                 Entity. Run P&L from inception to current 2014-2020.
                                                                                                            category of expense.
10/14/20   T. Nguyen      Accountant         2.0    $   150.00   $      300.00   Summarize by year Income statement for Consolidated tab from inception to current.
10/16/20   T. Nguyen      Accountant         2.0    $   150.00   $      300.00   Review and update SFAR by professional and holdbacks reconciliation from inception to current.
10/21/20   T. Nguyen      Accountant         0.5    $   150.00   $       75.00   Discuss with legal counsel on SFAR reports.
10/21/20   T. Nguyen      Accountant         4.0    $   150.00   $      600.00   Reconciling wrap up reports for SFAR.
10/22/20   T. Nguyen      Accountant         0.5    $   150.00   $       75.00   Discuss with legal counsel on SFAR reports.
10/22/20   T. Nguyen      Accountant         0.5    $   150.00   $       75.00   Update SFAR report on pre-receivership expense detail.
10/23/20   T. Nguyen      Accountant         3.5    $   150.00   $      525.00   Provide detail report expense from inception to current for certain operating expenses.
10/24/20   T. Nguyen      Accountant         2.8    $   150.00   $      412.50   Provide detail report expense from inception to current for certain operating expenses.
10/25/20   T. Nguyen      Accountant         0.5    $   150.00   $       75.00   Provide detail report expense from inception to current for certain operating expenses.
10/25/20   T. Nguyen      Accountant         1.0    $   150.00   $      150.00   Provide detail report expense from inception to current for certain operating expenses.
10/26/20   T. Nguyen      Accountant         0.8    $   150.00   $      112.50   Work on SFAR report reconciliation.
10/26/20   T. Nguyen      Accountant         4.8    $   150.00   $      712.50   Work on SFAR report reconciliation and P&L Inception.
10/27/20   T. Nguyen      Accountant         0.5    $   150.00   $       75.00   Discuss with legal counsel on SFAR reports.
10/27/20   T. Nguyen      Accountant         5.3    $   150.00   $      787.50   Work on SFAR report reconciliation and P&L Inception.
10/29/20   T. Nguyen      Accountant         8.3    $   150.00   $    1,237.50   Continue working on SFAR reports summarizing from inception to current.
10/30/20   T. Nguyen      Accountant        10.5    $   150.00   $    1,575.00   Revise the SFAR reports to match to P&L from inception to current. Detail out the supporting documents for
                                                                                 all business income and expenses. Detail out litigation income.
                             Total          127.2                $   22,852.50

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    Date         Personnel   Title of Personnel   Time       Rate         Amount                                              Description of Services

Status Report:
   05/05/20      A. Kudla      Attorney/CPA        3.7   $   350.00   $    1,295.00   Prepare support for Q1 Report, Standardized Fund Accounting Report, and Report to Court.
   05/06/20      A. Kudla      Attorney/CPA        0.6   $   350.00   $      210.00   Teleconf. and draft corresp. to/from T. Fates re Q1 Report.
   07/08/20      A. Kudla      Attorney/CPA        0.2   $   350.00   $       70.00   Review filed Report and meeting with staff re updated website.
   07/15/20      A. Kudla      Attorney/CPA        0.2   $   350.00   $       70.00   Draft corresp. to/from T. Fates re status of report.
   07/30/20      A. Kudla      Attorney/CPA        0.1   $   350.00   $       35.00   Teleconf. T. Fates re outstanding filing.
   08/18/20      A. Kudla      Attorney/CPA        0.4   $   350.00   $      140.00   Review Order and coordinate update of website.
   08/25/20      A. Kudla      Attorney/CPA        3.5   $   350.00   $    1,225.00   Prepare SFAR and Interim Report.
   08/27/20      A. Kudla      Attorney/CPA        0.7   $   350.00   $      245.00   Revise Interim Report and draft corresp. to/from T. Fates.
   08/31/20      A. Kudla      Attorney/CPA        0.6   $   350.00   $      210.00   Finalize Q2 Interim Report and SFAR and draft corresp. to/from T. Fates.
   09/10/20      A. Kudla      Attorney/CPA        0.2   $   350.00   $       70.00   Draft corresp. to/from T. Fates re status report.
   09/30/20      T. Nguyen      Accountant         0.5   $   150.00   $       75.00   Discuss with Aaron on wrapping up NASI and steps to do it.
   09/30/20      T. Nguyen      Accountant         0.8   $   150.00   $      112.50   Compile list of hours estimated for wrapping up NASI.
                                   Total          11.5                $    3,757.50

Tax Issues:
  04/07/20       A. Kudla      Attorney/CPA       3.0    $ 350.00     $    1,050.00 Review tax payments to FTB, research issue and meeting with staff (.8); and Review year end packets for
                                                                                    2019 re QSF, NASI and OSR 1-3 (2.2).
   06/02/20      A. Kudla      Attorney/CPA       2.7    $   350.00   $      945.00 Review year end financials and draft corresp. to/from CPAs re NASI, QSF, OSR, OSR 2 and OSR 3.
   06/03/20      A. Kudla      Attorney/CPA       0.5    $   350.00   $      175.00 Research questions and draft corresp. to/from CPA re sale of ATMs in 2019.
   07/10/20      A. Kudla      Attorney/CPA       0.5    $   350.00   $      175.00 Review financials and draft corresp. to/from CPA and T. Nguyen re 2019 tax return (Oasis).
   08/25/20      A. Kudla      Attorney/CPA       0.8    $   350.00   $      280.00 Prepare Summary of funds transferred from CNB and draft corresp. to/from CPAs re tax liability and filings
                                                                                    related to transfer.
   09/02/20      A. Kudla      Attorney/CPA       2.7    $ 350.00     $      945.00 Review tax guidance from CPA and meeting with staff re transfer of funds from CNB Claims Admin. (1.4)
                                                                                    and Research filings and steps to dissolve entities (1.3).
   09/03/20      A. Kudla      Attorney/CPA       0.6    $ 350.00     $      210.00 Review tax return information and draft corresp. to/from CPA.
   09/14/20      A. Kudla      Attorney/CPA       1.8    $ 350.00     $      630.00 Review 2019 financials and tax return and finalize tax returns re NASI, OSR 1-3.
   09/30/20      A. Kudla      Attorney/CPA       2.3    $ 350.00     $      805.00 Review entities and outstanding maintenance and dissolution requirements (1.2); Review outstanding tax
                                                                                    items and draft corresp. to/from CPA (.8); and Draft corresp. to/from CT Corp. re quote for entities to be
                                                                                    dissolved (.3).
   10/01/20      A. Kudla      Attorney/CPA       1.7    $ 350.00     $      595.00 Review 2019 tax returns for QSF, NASI and OSR 1-3 and outstanding items for 2020 and teleconf. and draft
                                                                                    corresp. CPA re winding down steps.
   10/07/20      A. Kudla      Attorney/CPA       0.5    $ 350.00     $      175.00 Review outstanding tax returns and draft corresp. to/from CPA.
   10/08/20      A. Kudla      Attorney/CPA       2.7    $ 350.00     $      945.00 Research dissolution issues, teleconf. FTB and research related issues re OSR prior year outstanding tax
                                                                                    returns (1.2); and Research prior tax returns re 2009 and 2010 (1.5).
   10/12/20      A. Kudla      Attorney/CPA       0.8    $ 350.00     $      280.00 Review, finalize and mail 2019 tax returns for QSF and draft corresp. to/from CPAs re QSF.
   10/17/20      A. Kudla      Attorney/CPA       1.8    $ 350.00     $      630.00 Research prior tax returns, corresp. and notices, and database re missing 2009 and 2010 FTB returns.
   10/21/20      A. Kudla      Attorney/CPA       2.7    $ 350.00     $      945.00 Teleconf. FTB, prepare payment for outstanding fees, prepare FTB Revival, review and compile required
                                                                                    documents to file, prepare corresp. to FTB re OSR.
   10/22/20      A. Kudla      Attorney/CPA        0.9   $ 350.00     $      315.00 Teleconf. FTB, confirm tax amounts, pay taxes and draft corresp. to FTB re OSR.
   10/28/20      A. Kudla      Attorney/CPA        0.2   $ 350.00     $       70.00 Draft corresp. to/from CPAs re estimates conclusion.
                                   Total          26.2                $    9,170.00

USAO Restitution Loss Amounts:
  04/07/20      A. Kudla       Attorney/CPA       1.6    $ 350.00     $      560.00 Coordinate preparation of payment to USAO and finalize Schedule re distributions to date.
  04/15/20      A. Kudla       Attorney/CPA       0.3    $ 350.00     $      105.00 Review status of USAO check and draft corresp. to/from USAO.
  05/18/20      A. Kudla       Attorney/CPA       0.3    $ 350.00     $      105.00 Draft corresp. to/from USAO with supporting Distribution Schedule.

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   Date      Personnel   Title of Personnel   Time       Rate         Amount                                              Description of Services

  06/18/20   A. Kudla      Attorney/CPA       2.2    $ 350.00     $      770.00 Teleconf. T. Fates and USAO re restitution reconciliation with Receiver’s loss list (.9); and Research
                                                                                investor files, claim forms, Schedule of Losses and documents received, and prepare Reconciliation
                                                                                Schedule, and draft corresp. to/from USAO (1.3).
  06/20/20   A. Kudla      Attorney/CPA       0.5    $   350.00   $      175.00 Research restitution filing and draft corresp. to/from USAO.
  06/23/20   A. Kudla      Attorney/CPA       1.5    $   350.00   $      525.00 Reconcile select list of USAO restitution amounts with Receiver Distributions.
  07/27/20   A. Kudla      Attorney/CPA       1.2    $   350.00   $      420.00 Review victim list from USAO and draft corresp. to/from USAO.
  08/11/20   A. Kudla      Attorney/CPA       3.8    $   350.00   $    1,330.00 Research claims submission forms, supporting documents and investor files and reconcile Receiver’s claims
                                                                                with USAO’s restitution loss amounts.
  08/12/20   A. Kudla      Attorney/CPA       2.5    $ 350.00     $      875.00 Research claims submission forms, supporting documents and investor files and reconcile Receiver’s claims
                                                                                with USAO’s restitution loss amounts.
  08/13/20   A. Kudla      Attorney/CPA       2.3    $ 350.00     $      805.00 Research claims submission forms, supporting documents and investor files and reconcile Receiver’s claims
                                                                                with USAO’s restitution loss amounts.
  08/14/20   A. Kudla      Attorney/CPA       4.7    $ 350.00     $    1,645.00 Research claims submission forms, supporting documents and investor files and reconcile Receiver’s claims
                                                                                with USAO’s restitution loss amounts.
  08/17/20   A. Kudla      Attorney/CPA       5.2    $ 350.00     $    1,820.00 Research claims submission forms, supporting documents and investor files and reconcile Receiver’s claims
                                                                                with USAO’s restitution loss amounts.
  08/20/20   A. Kudla      Attorney/CPA       2.5    $ 350.00     $      875.00 Research claims submission forms, supporting documents and investor files and reconcile Receiver’s claims
                                                                                with USAO’s restitution loss amounts.
  08/21/20   A. Kudla      Attorney/CPA       4.7    $ 350.00     $    1,645.00 Research claims submission forms, supporting documents and investor files and reconcile Receiver’s claims
                                                                                with USAO’s restitution loss amounts (2.7); and Consolidate and review all comments in response to USAO
                                                                                requests (2.0).
  08/24/20   A. Kudla      Attorney/CPA       2.0    $   350.00   $      700.00 Teleconf. USAO and revise Reconciliation Schedule for USAO (2.6); and Draft corresp. to USAO (.2).
  08/27/20   A. Kudla      Attorney/CPA       1.2    $   350.00   $      420.00 Review investor loss Schedules, revise USAO Restitution Schedule and teleconf. USAO.
  09/09/20   A. Kudla      Attorney/CPA       1.5    $   350.00   $      525.00 Review request by USAO, research issues and draft corresp. to/from USAO.
  09/15/20   A. Kudla      Attorney/CPA       0.3    $   350.00   $      105.00 Prepare letter to US Distr. Clerk re restitution information provided to USAO.
  09/17/20   A. Kudla      Attorney/CPA       1.1    $   350.00   $      385.00 Research contact information for select investors and draft corresp. to/from USAO re restitution payments.

  09/29/20   A. Kudla      Attorney/CPA        0.3   $ 350.00     $      105.00 Teleconf. USAO re restitution filing.
                               Total          39.7                $   13,895.00

Wind Down:
  10/05/20   A. Kudla      Attorney/CPA       2.7    $ 350.00     $      945.00 Teleconf. T. Fates re wind down items and final distribution procedure (1.2); and Research dissolution
                                                                                procedures, required filings and related expenses (1.5).
  10/06/20   A. Kudla      Attorney/CPA       0.5    $ 350.00     $      175.00 Review final Fee App form for CPA and draft corresp. to/from CPA re items needed to conclude.
  10/14/20   A. Kudla      Attorney/CPA       3.8    $ 350.00     $    1,330.00 Prepare Schedule of Wind Down Items, research estimates for distribution and Receivership expenses (1.7);
                                                                                and Prepare Detailed Schedule and Summary Schedule of Distributions to All Professionals (2.1).
  10/15/20   A. Kudla      Attorney/CPA       2.8    $ 350.00     $      980.00 Prepare Schedule of Receipts and Distributions (2014 to 2020) (1.7); and Prepare Recovery Schedule
                                                                                (Detailed and Summary) (1.1).
  10/15/20   A. Kudla      Attorney/CPA       2.5    $ 350.00     $      875.00 Prepare CNB Recovery Schedule (.6); and Prepare Net Funds to Distribution Schedule and review
                                                                                supporting documents, including bank statements and outstanding checks (1.9).
  10/17/20   A. Kudla      Attorney/CPA       3.3    $ 350.00     $    1,155.00 Revise Professional Fee Schedule and reconcile with SFAR and Income statements and Expenses Schedule
                                                                                (2.2); and Prepare Claims Fees and Misc. Fee Schedule (1.1).
  10/22/20   A. Kudla      Attorney/CPA       2.3    $ 350.00     $      805.00 Revise Schedule of ATM Operating Revenue (.6); and Prepare Estimated Receiver’s Fees to conclude and
                                                                                research items (1.7).
  10/22/20   A. Kudla      Attorney/CPA       2.4    $ 350.00     $      840.00 Research quotes and prepare Schedule of Estimated Receiver’s Expenses to conclude (1.5); and Review Q3
                                                                                financials and meeting with T. Nguyen (.9).


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 Date      Personnel   Title of Personnel   Time      Rate         Amount                                              Description of Services

10/23/20   A. Kudla      Attorney/CPA        3.2    $ 350.00   $    1,120.00 Review bank reconciliation, bank statements, outstanding checks and prepare Schedule of Bank Account
                                                                             Reconciliation through Q3 2020 (1.2); Review support for SFAR and prepare SFAR Report for Q3 3030
                                                                             (.9); and Prepare supporting schedules for Net Funds to Distribute (1.1).
10/23/20   A. Kudla      Attorney/CPA        3.4    $ 350.00   $    1,190.00 Revise Professional Fees and Expenses Schedule through Q1 2020 and reconcile SFAR with Income
                                                                             Statement (1.6); and Prepare Prof. Fee and Expenses for Q2 2020 through Completion and supporting
                                                                             schedules and documents (1.8).
10/23/20   A. Kudla      Attorney/CPA        1.2    $ 350.00   $      420.00 Additional research and revise Schedule of Anticipated Receivership Expenses through completion.
10/27/20   A. Kudla      Attorney/CPA        0.9    $ 350.00   $      315.00 Revise Schedule of ATM Operations for Report.
10/28/20   A. Kudla      Attorney/CPA        1.7    $ 350.00   $      595.00 Revise Schedule of ATM Income and Expenses and Schedule of Professional Fees for Q2 and Q3 2020.

10/29/20   A. Kudla      Attorney/CPA        3.4    $ 350.00   $    1,190.00 Revise Schedule of Q2 and Q3 Expenses Reimb. and Fees (.5); Revise Schedule of Receivership Recovery
                                                                             (1.2); and Prepare Schedule of OSR Income and asset recovery (1.7).
10/29/20   A. Kudla      Attorney/CPA        2.8    $ 350.00   $      980.00 Prepare Schedule of Seized Assets (.8); Prepare Schedule of Interest Income (.5); and Prepare Schedule of
                                                                             Third-Party Litigation Income (1.5).
                             Total          36.9               $   12,915.00

                           TOTAL            323.3              $   91,255.00




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                                   Receiver Over NASI
                                 Net Funds to Distribute
                                     Attachment B-3-2
                              Receiver Expenses (Detailed)
                          April 1, 2020 to Oct. 31, 2020 (Actual)

       Date                                Description                               Amount

Bank Fees
     04/30/20 Bank Fee - April                                                   $      369.25
     05/30/20 Bank Fee - May                                                     $      366.61
     06/30/20 Bank Fee - June                                                    $      382.94
     07/31/20 Bank Fee - July                                                    $      365.70
     08/31/20 Bank Fee - August                                                  $      365.69
     09/30/20 Bank Fee - Sept.                                                   $      370.80
     10/31/20 Bank Fee - Oct.                                                    $      367.02
   Total Bank Fees                                                               $    2,588.01

Computer Equipment and Software:
    10/31/20 MRI Software Fee ($150/month) (04/01/20 to 10/31/20)                $    1,050.00
    10/31/20 Website Hosting (Annual)                                            $      143.88
    10/31/20 Email License (@nasi-receivership.com) (Annual)                     $       71.88
    10/31/20 Leapfile Data Transfer ($20/month (04/01/20 to 10/31/20)            $      140.00
    10/31/20 Background Research License ($26.82/month) (04/01/20 to 10/31/20)   $      187.74
   Total Computer Equipment and Software                                         $    1,593.50

Photocopying:
     04/30/20 Copies - 654 BW @ .15 each = $98.10                                $      98.10
     05/31/20 Copies - 542 BW @ .15 each = $81.30                                $      81.30
     06/30/20 Copies - 704 BW @ .15 each = $105.60                               $     105.60
     07/31/20 Copies - 206 BW @ .15 each = $30.90                                $      30.90
     08/31/20 Copies - 235 BW @ .15 each = $35.25                                $      35.25
     09/30/20 Copies - 437 BW @ .15 each = $65.55                                $      65.55
     10/31/20 Copies - 871 BW @ .15 each = $130.65                               $     130.65
    Total Photocopying                                                           $     547.35

Postage/ Overnight Expenses:
     04/30/20 Postage - April                                                    $      11.00
     04/30/20 FedEx - April                                                      $      16.67
     05/31/20 Fedex - May                                                        $      66.08
     05/31/20 Postage - May                                                      $       0.73
     06/30/20 Postage - June                                                     $      22.75
     10/31/20 FedEx - Oct.                                                       $      24.83
    Total Postage/ FedEx                                                         $     142.06

Storage of Documents:
     04/30/20 Storage Fee - April                                                $      27.72
     05/31/20 Storage Fee - May                                                  $      28.64
     06/30/20 Storage Fee - June                                                 $      27.72
     07/31/20 Storage Fee - July                                                 $      27.72
     08/31/20 Storage Fee - August                                               $      28.64
     09/30/20 Storage Fee - Sept                                                 $      28.71
     10/31/20 Storage Fee - Oct                                                  $      28.71
    Total Storage                                                                $     197.86

                Total Expense Reimbursements                                     $    5,068.78




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